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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------- x
                                                          : Chapter 11
In re:                                                    :
                                                          :
         WONDERWORK, INC.                                 : Case No.: 16-13607 (SMB)
                                                          :
                                    Debtor.               :
                                                          :
---------------------------------------------------------- x


                  ORDER GRANTING (I) APPLICATIONS BY PROFESSIONALS
          FOR FINAL ALLOWANCE OF COMPENSATION AND REIMBURSEMENT
                  OF ACTUAL AND NECESSARY EXPENSES INCURRED, AND
         (II) FIRST APPLICATION BY CHAPTER 11 TRUSTEE FOR ALLOWANCE OF
      INTERIM STATUTORY COMMISSION AND REIMBURSEMENT OF EXPENSES


                  Upon consideration of (I) the following fee applications filed by the Chapter


11 Trustee’s retained professionals (collectively, the “Fee Applications”): (i) the First and


Final Fee Application of CR3 Partners, LLC [Doc. No. 498]; (ii) the First and Final Fee


Application of Garfunkel Wild, P.C. [Doc. No. 494]; (iii) the First and Final Fee Application


of Gordon Brothers Asset Advisors, LLC [Doc. No. 495]; (iv) the First and Final Fee


Application of Togut, Segal & Segal LLP [Doc. No. 499]; and (v) the First and Final Fee


Application of Verdolino & Lowey, P.C. [Doc. No. 497], and (II) the First Application of
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Chapter 11 Trustee for Allowance of Interim Statutory Commission and Reimbursement of


Expenses [Doc. No. 496] (the “Interim Commission Application” and, together with the Fee


Applications, the “Applications”); and a hearing having been held before this Court1 to


consider the Applications on January 10, 2019; and notice of the Applications having been


given pursuant to Federal Rules of Bankruptcy Procedure 2002(a)(6) and (c)(2); and


sufficient cause having been shown therefor, it is hereby;


              ORDERED that the compensation and reimbursement of expenses sought


pursuant to the Fee Applications are awarded on a final basis in the amounts set forth on


the attached Schedules A and B; and it is further




1
      Capitalized terms not defined herein shall have the meanings ascribed to them in the Applications.

                                                   2
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             ORDERED that the Trustee is authorized and directed to pay or cause to be


paid the amounts fixed and awarded hereby to each of the applicants, as set forth in


columns (4) and (6) on the attached Schedule A; and it is further


             ORDERED that the compensation and reimbursement of expenses sought


pursuant to the Interim Commission Application are awarded in the amounts of


$164,882.42 and $12,291.90, respectively.


Dated: New York, New York
      January 10th, 2019


                                        /s/ STUART M. BERNSTEIN
                                        HONORABLE STUART M. BERNSTEIN
                                        UNITED STATES BANKRUPTCY JUDGE




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                                                                                      Schedule A


                        In re WonderWork, Inc., Case No. 16-13607 (SMB)


                                         FIRST FEE PERIOD


             (1)                  (2)              (3)           (4)            (5)           (6)
       Applicant           Date/Document       Interim Fees      Fees         Interim       Expenses
                             Number of        Requested on     Allowed       Expenses       Allowed
                             Application       Application                   Requeste
                                                                                d
CR3 Partners, LLC             11/19/18          $485,928.50   $485,928.50    $6,011.80      $6,011.80

Accountant for the           [Docket No.
Chapter 11 Trustee                498]

Garfunkel Wild, P.C.          11/16/18          $259,261.50   $259,261.50      $89.49         $89.49

Special Counsel for        [Docket No. 494]
the Chapter 11
Trustee

Gordon Brothers               11/19/18           $30,000.00    $30,000.00             $0            $0
Asset Advisors, LLC          [Docket No.
Intellectual Property             495]
Advisor for the
Chapter 11 Trustee

Togut, Segal & Segal          11/19/18          $899,612.50   $899,612.50    $13,760.6      $13,760.6
LLP                                                                                     9             9
                             [Docket No.
Bankruptcy Counsel                499]
for the Chapter 11
Trustee
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Verdolino & Lowey,         11/19/18          $15,000.00    $15,000.00          $0         $0
P.C.                    [Docket No. 497]
Special Accountant
for the Chapter 11
Trustee




              DATED: January 10, 2019                      INITIALS: SMB USBJ




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                                                                                    Schedule B


                        In re WonderWork, Inc., Case No. 16-13607 (SMB)


                                  FINAL FEE APPLICATION TOTALS


          (1)                      (2)                 (3)            (4)               (5)
      Applicant                Total Fees        Total Fees          Total             Total
                               Requested          Approved         Expenses          Expenses
                                                                   Requested         Approved
CR3 Partners, LLC                 $485,928.50        $485,928.50    $6,011.80          $6,011.80

Accountant for the
Chapter 11 Trustee

Garfunkel Wild, P.C.              $259,261.50        $259,261.50       $89.49             $89.49

Special Counsel for
the Chapter 11
Trustee

Gordon Brothers                    $30,000.00         $30,000.00             $0                 $0
Asset Advisors, LLC

Intellectual Property
Advisor for the
Chapter 11 Trustee

Togut, Segal & Segal              $899,612.50        $899,612.50   $13,760.69         $13,760.69
LLP

Bankruptcy Counsel
for the Chapter 11
Trustee

Verdolino & Lowey,                 $15,000.00         $15,000.00             $0                 $0



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P.C.

Special Accountant
for the Chapter 11
Trustee




            DATED: January 10, 2019                      INITIALS: SMB__USBJ




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